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                  UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION

 MATTHEW PETREVITCH,                     §
                                         §
       Plaintiffs                        §
                                         §
 v.                                      §
                                         §
 PHILIPS RS NORTH AMERICA,               §
 LLC, PHILIPS HEALTHCARE                                     CV422-122
                                         § CIVIL ACTION NO. _________
 INFORMATICS, INC., PHILIPS              §
 NORTH AMERICA LLC f/k/a/                §
 RESPIRONICS, INC., and                  §
 KONINKLIJKE PHILIPS N.V.,               §
                                         §
       Defendants.                       §


                    CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Civil Procedure 7.1, Philips North America LLC,

Philips RS North America LLC, and Philips Healthcare Informatics, Inc. state the

following:

      1.     Koninklijke Philips Naamloze Venootschap is a publicly traded

company that is based in, and incorporated in, the Netherlands. Koninklijke Philips

Naamloze Venootschap, a holding company, indirectly owns more than 10% of

Philips North America LLC and Philips RS North America LLC and is the ultimate

corporate parent of those entities.




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       2.    Koninklijke Philips Naamloze Venootschap has no parent corporation,

and no publicly held company owns 10% or more of Koninklijke Philips Naamloze

Venootschap.

       3.    Philips RS North America LLC is 100% owned by Philips RS North

America Holding Corporation, which in turn, is 100% owned by Philips Holding

USA, Inc.

       4.    Philips Holdings USA, Inc., is the member/manager of Philips North

America LLC.

       5.    Philips Healthcare Informatics, Inc. is owned by Philips Holdings USA,

Inc.




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                                         Respectfully submitted,

                                         HALL BOOTH SMITH, P.C.

                                         /s/ Beth Boone_____________
John P. Lavelle, Jr.                     Beth Boone
MORGAN, LEWIS & BOCKIUS                  3528 Darien Highway
LLP                                      Suite 300
1701 Market Street                       Brunswick, GA 31525
Philadelphia, PA 19103-2921              Telephone: 912.554.0093
Telephone: +1.215.963.5000               Facsimile: 912.554.1973
Facsimile: +1.215.963.5001               BBoone@hallboothsmith.com
john.lavelle@morganlewis.com
                                     Counsel for Defendants Philips RS North
Of Counsel for Defendants Philips RS America LLC, Philips North America
North America LLC                    LLC, and Philips Healthcare Informatics,
                                     Inc.
Michael H. Steinberg
SULLIVAN & CROMWELL LLP
1888 Century Park East
Los Angeles, CA 90067-1725
Telephone: +1.310.712.6670
Facsimile: +1.310.712.8800
steinbergm@sullcrom.com

William B. Monahan
SULLIVAN & CROMWELL LLP
125 Broad Street
New York, NY 10004-2498
Telephone: +1.212.558.7375
Facsimile: +1.212.558.3588
monahanw@sullcrom.com

Dated: May 10, 2022

Of Counsel for Defendant Philips North
America LLC and Philips Healthcare
Informatics, Inc.




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                         CERTIFICATE OF SERVICE

      I, Beth Boone, an attorney, certify that I filed the foregoing using the Court’s

ECF system, which will cause a true and correct copy of the same to be served

electronically on all ECF-registered counsel of record on this 10th day of May, 2022.



                                       /s/ Beth Boone




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